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        Exhibit 10
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                                                                                                        36702586



                                 UNITED STATES DISTRICT COURT                                       Mar 28 2011
                                  DISTRICT OF MASSACHUSETTS                                          10:39AM


UNITED STATES OF AMERICA
Ex. rel.
         VEN-A-CARE OF THE FLORIDA
         KEYS, INC., a Florida corporation,
         by and through its principal officers
         and directors, ZACHARY T. BENTLEY
         and T. MARK JONES,                        MDL No. 1456

                   Plaintiff,                      Master File No. 01-cv-12257-PBS

ACTAVIS MID ATLANTIC LLC, et al.                   Subcategory No. 06-11337-PBS
                                                   Civil Action No. 08-CV-10852
                   Defendants.
                                                   Judge Patti B. Saris


             JOINT REQUEST FOR A STATUS CONFERENCE AT THE COURT’S
                             EARLIEST CONVENIENCE


          Defendants, Actavis MidAtlantic LLC, Alpharma USPD Inc. f/k/a Barre National Inc.,

and Barre Parent Corp. (collectively “Actavis MidAtlantic”); Par Pharmaceutical, Inc. and Par

Pharmaceutical Companies, Inc. (collectively “Par”); Sandoz Inc. f/k/a Geneva Pharmaceuticals

Inc. (“Sandoz”); and Watson Pharmaceuticals, Inc. and Watson Pharma, Inc. f/k/a Schein

Pharmaceutical, Inc. (collectively, “Watson”) and relator Ven-A-Care of the Florida Keys, Inc.,

hereby jointly request a status and scheduling conference to discuss the issues raised in the

parties’ Joint Motion to Modify Deadlines.

          On March 22, 2011, the parties filed their Joint Motion to Modify Deadlines, requesting

additional time to continue potential settlement discussions, conduct discovery and file summary

judgment motions in this case. By this motion, the parties sought to extend the current deadlines

set forth in CMO 32 by 90 days. On March 23, 2011, the Court denied the parties’ motion




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without further explanation. Subsequent to that denial, the parties conferred and agreed to file

this joint request.

          The parties have attempted, and continue to attempt, to reach a mediated resolution of

these Federal False Claim Act qui tam actions with the assistance of Professor Eric Green, the

court appointed mediator, and with the participation of the Department of Justice. The parties

believe they will be able to successfully conclude their mediation efforts, at least with regards to

certain defendants, within the next eight weeks. The parties believe that a modest extension of

the pre-trial deadlines will facilitate settlement and avoid the unnecessary expenditure of

litigation resources in the cases resolved.

          The parties believe that a status conference would be appropriate at this time to discuss

the status of their efforts to resolve this case and also to obtain the Court’s guidance on how best

to streamline pre-trial proceedings to facilitate the efficient resolution of this case either through

trial or settlement. Accordingly, the parties respectfully request a status conference with the

Court at its earliest convenience during the week of March 28, 2011, or in any event, before the

currently scheduled close of fact discovery on April 15, 2011. If such conference cannot be

scheduled before the current deadline, the parties respectfully request a provisional extension of

the close of fact discovery until such time as we are able to meet with the Court.




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Respectfully submitted this 28th day of March, 2011.

ON BEHALF OF ALL DEFENDANTS                            ON BEHALF OF RELATOR

/s/ Heather K. McDevitt                                /s/ Glenn W. MacTaggart
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                                                       the Florida Keys, Inc.




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                                 CERTIFICATE OF SERVICE


          I, Heather K. McDevitt, counsel for defendant Sandoz Inc. f/k/a Geneva Pharmaceuticals,

Inc., and on behalf of that defendant as well as defendants Actavis MidAtlantic, LLC; Alpharma

Inc.; Alpharma USPD Inc. f/k/a Barre-National, Inc; Barre Parent Corp.; Par Pharmaceutical,

Inc. & Par Pharmaceutical Companies, Inc.; Watson Pharmaceuticals, Inc.; and Schein

Pharmaceutical Inc., and relator Ven-A-Care of the Florida Keys, Inc., hereby certify that I have

caused a true copy of the foregoing Joint Request for a Status Conference to be delivered to all

counsel of record via ECF filing and via the Lexis Nexis File & Serve system this 28th day of

March, 2011.


                                                     s/Heather K. McDevitt
                                                       Heather K. McDevitt




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